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                                                                         CLEnK, U.S. n!SrRICT COURT


                                                                                APR 2 02022
                                                                        CENTRAL DISTRICT OF CALir~ORNIA i
                                                                        BY ~,                  rE?U iY ~



                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER $, Z~ _ M J - ~'~„$S— A~


~~~~ ~j
      ~ J ~~                 ~~~" "'''``~ \
                             ~.
                                                pLAINTIFF(S)
                                                                        ~:22-               -7Z
                                                                                              -7

       ~Y~,V~(.                                                             DECLARATION RE
                    .r-z     ~                DEFENDANT(S).             OUT-OF-DISTRICT WARRANT



The above-named defendant was charged by: ~          V~,                  ~rJl{,
in the ~~,~X~                         District of __ ,~~~5                        on
at off'-3O          a.m. / p p.m. The offense was allegedly committed on or about
in violation of Title           ~                     U~.Sy.C., Sections)  ~      C
YO Wit: ~ I YI ,1/' I Q ~ /A A ~ V1n, I 11~D Y~a-R    D ( 7SYl/1 W1II.VIA~        ~ /11/1

A warrant for defendant's arrest was issued by:                                                             • ,


Bond of$                                was pset /~ recommended.

Type of Bond:

Relevant documents) on hand (attach):



I declare under penalty of perjury that the foregoing is true and correct.

Executed on     ~~ T/~
                       ate


                                                                  ~i~/i`u~"~e 1~1
Signature of Agen                                               Print Name of Agent


  ~`
Agency                                                          Title
                                                                        ~e.~~~

CR-52(03/20)                           DECLARATION REOUT-OF-DISTRICT WARRANT
